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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF FLORIDA

   BLOCKCHAIN CAPITAL LLC,                              Civil Action No. 6:20-cv-01616

                       Plaintiff;

   v.                                                   COMPLAINT

                                                        JURY TRIAL DEMANDED
   BLOCKCHAIN CAPITAL
   MANAGEMENT LLC and FAREED
   IFTIKHAR,

                       Defendants.



        Plaintiff, Blockchain Capital, LLC (“Plaintiff”) by counsel, files this complaint against

Defendants, Blockchain Capital Management LLC and Fareed Iftikhar (“Defendants”), and

hereby alleges as follows:

                                     Nature of The Action

        1.    This is an action for federal trademark infringement, false designation of origin in

violation of the Lanham Act, 15 U.S.C. § 1051 et seq.; state and common law trademark

infringement under the laws of Florida; and unfair competition against Defendants, Blockchain

Capital Management LLC and Fareed Iftikhar.

                                            Parties

        2.     Plaintiff, Blockchain Capital, LLC, is a Delaware Limited Liability Company

with offices at 440 Pacific Ave., San Francisco, California 94133.

        3.     Upon information and belief, Defendant, Blockchain Capital Management LLC,

is organized in Florida with offices at 1500 Heights Lane, Longwood FL 32750.

        4.     Upon information and belief, Defendant, Fareed Iftikhar resides at 1500 Heights




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Lane, Longwood FL 32750.

       5.      Upon information and belief, Defendants have created or are in the process of

creating or are otherwise providing financial services under the name “Blockchain Capital”.

       6.      Upon information and belief, Defendant Fareed Iftikhar is a Principal, agent and

acts as the driving force behind Blockchain Capital Management LLC, who conducts business

in the State of Florida and has knowingly directed the conduct of Blockchain Capital

Management LLC to willfully violate Plaintiff’s rights in BLOCKCHAIN CAPITAL.

                                   Jurisdiction and Venue

       7.      This Court has federal question jurisdiction pursuant to 28 U.S.C. §§ 1331, 1338

over the Lanham Act claims because the action alleges, inter alia, violations of federal statutes;

and the Court has jurisdiction pursuant to 28 U.S.C. §§ 1338(b) and 1367 over the state law

claims because they arise out of the same nucleus of operative fact and are so related to the

federal cause of action that they form the same case or controversy.

       8.      Venue is proper in this judicial district under 28 U.S.C. § § 1391, 1400(b)

because a substantial part of the events giving rise to the claims raised in the lawsuit occurred in

this judicial district, and because Defendants conduct business in this district.

       9.      Personal jurisdiction is proper in Florida because BLOCKCHAIN CAPITAL

MANGEMENT, LLC is organized in Florida and Mr. Iftikhar is a resident of Florida.

                                             Background

       12.     Plaintiff is the owner of BLOCKCHAIN CAPITAL and U.S. Trademark Reg.

No. 5,816,914 and Plaintiff has the exclusive right to use BLOCKCHAIN CAPITAL in the

venture capital and financial services industry, and more particularly related to the crypto and

cryptography industry. Plaintiff is the leading venture capital and investment firm in the crypto




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industry and is the oldest venture capital firm dedicated to emerging cryptography and

cryptocurrency technologies. Plaintiff has been operating under the name “BLOCKCHAIN

CAPITAL” for more than five years. Plaintiff is the leader in the field and famous in the

industry; notably, Plaintiff is an early investor in some of the industry’s most prominent

companies and organizations including Coinbase, Ethereum and Ripple.

       13.     Plaintiff’s BLOCKCHAIN CAPITAL has acquired secondary meaning and the

U.S. Trademark Office, in Reg. No. 5,816,914, has recognized such secondary meaning and

acquired distinctiveness, substantial press and recognition through granting of a registration

with a claim to acquired distinctiveness. The affidavits and evidence found in the file history of

Reg. No. 5,816,914 which evidence such secondary meaning and acquired distinctiveness are

incorporated by reference.

       14.     Plaintiff’s BLOCKCHAIN CAPITAL has had significant press coverage over

the past five years in Forbes, Fortune, Bloomberg, CNBC, Harvard Business Review, Wired,

Frazer Rice, Wall Street Journal Pro, CoinDesk, Axios, The PE Hub Network, Crypto Insider,

Bitcoin Magazine, Business Times, Nasdaq, The Drum, Examiner, PitchBook, BankNxt,

Market Wired, Venture Beat, etc., and in press releases on PR Newswire, MarketWire,

BusinessWire and Nasdaq. Plaintiff’s BLOCKCHAIN CAPITAL has been covered in

interviews on major television networks such as CNBC, Bloomberg TV and Fortune.

       15.     The principals of Plaintiff are famous in the industry with Jimmy Song, Brock

Pierce and Spencer Bogart being listed as some of the most influential persons in the

cryptography industry in numerous articles that name them aside BLOCKCHAIN CAPITAL.

       16.     Plaintiff has continuously used its BLOCKCHAIN CAPITAL® trademark since

use began and for more than five years and has expended considerable resources in promoting




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and advertising its brand.

                                      Defendants’ Activities

       17.     Defendants use “Blockchain Capital” in connection with their business at least

because they are conducting business under a corporate entity whose name uses

BLOCKCHAIN CAPITAL.

       18.     Florida Secretary of State records indicate that Overseas Capital Group is a

parent of Blockchain Capital Management LLC and the website of Overseas Capital Group

indicates it has “several independently privately owned business units operating around the

world.” Thus, upon information and belief, Defendants are using BLOCKCHAIN CAPITAL in

the financial services industry and sector in a manner which is likely to cause confusion with

Plaintiff’s BLOCKCHAIN CAPITAL.

       19.     Plaintiff has sent Defendants letters requesting that BLOCKCHAIN CAPITAL

MANGEMENT LLC change its name and that use of BLOCKCHAIN CAPITAL cease and

such letters were sent by certified mail, return receipt requested and Mr. Iftikhar received the

same and signed for the return receipt.

       20.     Plaintiff has sent a number of reminders to Defendants after no response. Most

recently Defendants filed an annual report with the Florida Secretary of State without changing

the name of their limited liability company and are continuing to use and do business as

BLOCKCHAIN CAPITAL in willful violation of Plaintiff’s rights.

       21.     Defendants have not responded to any of Plaintiff’s letters or reminders.

       22.     Upon information and belief, the consumers of Plaintiff’s and Defendants’

services are similar including identical or similar types of investors and/or investments.

       23.     Upon information and belief, individuals and companies who will view or are




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likely to view and/or utilize both Plaintiff's and Defendants’ services are similar or identical.

        24.    Defendants have used “Blockchain Capital” and incorporated under that name in

order to trade on the goodwill developed in Plaintiff’s BLOCKCHAIN CAPITAL® and

Defendants have used “Blockchain Capital” in order to trade off on the established goodwill of

Plaintiff in BLOCKCHAIN CAPITAL®.

        25.    Defendants’ use of Plaintiff’s brand is likely to cause confusion, mistake or

deception among the public who will be confused, mistaken and deceived into believing that

Defendants’ services are endorsed by, are sponsored by, affiliated with, and/or authorized by

Plaintiff.

        26.    Upon information and belief, Defendants’ use of Plaintiff’s trademark has

misappropriated and continues to misappropriate the goodwill that Plaintiff has built in its usage

of the BLOCKCHAIN CAPITAL® mark.

        27.    Upon information and belief, Defendants’ activities have caused and continue to

cause irreparable injury to Plaintiff’s reputation and goodwill.

        28.    Defendants’ unlawful conduct has caused and will continue to cause irreparable

damage to the BLOCKCHAIN CAPITAL® mark and the valuable brand and goodwill it so

powerfully represents. Defendants’ use of BLOCKCHAIN CAPITAL, if not enjoined by this

court, will continue misleading the public and causing irreparable damage and harm to Plaintiff

and the public, and will deprive Plaintiff of control over and exclusive rights to its immensely

valuable brand and the goodwill it represents, and will undermine the investment in time and

money Plaintiff has made over many years in developing the BLOCKCHAIN CAPITAL®

mark with the favorable and unique associations that distinguish the brand in the marketplace.

Plaintiff has no adequate remedy at law.




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          29.    The intentional and willful nature of Defendants’ unlawful acts renders this an

exceptional case.

                                          COUNT I


          30.    Plaintiff repeats and re-alleges the allegations contained in the prior paragraphs

1-29 of this Complaint and incorporates them herein by reference.

          31.    Defendants’ use of BLOCKCHAIN CAPITAL constitutes trademark

infringement and gives rise to a likelihood of confusion, deception, and mistake among the

public.

          32.    Upon information and belief, Defendants adopted and used the BLOCKCHAIN

CAPITAL name with the willful purpose and intent of misleading the public and trading upon

the goodwill and reputation associated with Plaintiff’s Registrations.

          33.    These acts violate the United States Lanham Act and constitute infringement of

Plaintiff’s registered trademark, in violation of Section 32 of the Lanham Act, 15 U.S.C. § 1114

et seq. , particularly, Section 32(1)(a) of the Lanham Act, 15 U.S.C. § 1114 (1)(a), prohibits the

use in commerce, without the consent of the registrant, of any reproduction, counterfeit, copy,

or colorable imitation of a registered mark in connection with the sale, offering for sale,

distribution, or advertising of any goods or services on or in connection with which such use is

likely to cause confusion, or to cause mistake, or to deceive.

          34.    As a result of Defendants’ infringing activities, the public is likely to be and has

already been confused, misled or deceived as to the source, origin or sponsorship of

Defendants’ services, and Plaintiff has suffered irreparable injury for which it has no adequate

remedy at law.

          35.    Upon information and belief, as a direct and proximate result of Defendants’



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actions in misappropriating Plaintiff’s trademark rights, Plaintiff will need to conduct a

corrective advertising campaign to alleviate existing, ongoing and future confusion in the

marketplace, in an amount to be determined.

                                             COUNT II


       36.     Plaintiff repeats and re-alleges the allegations contained in the prior paragraphs

1-29 of this Complaint and incorporates them herein by reference.

       37.     Defendants’ use of the BLOCKCHAIN CAPITAL name constitutes offering for

sale and selling services in interstate commerce using false and misleading descriptions and

representations of fact, in violation of Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).

       38.     Upon information and belief, Defendants adopted and used the BLOCKCHAIN

CAPITAL trademark with the knowledge that it was misleading, and deceptive, and with the

intent to compete unfairly with Plaintiff and to misappropriate the goodwill of Plaintiff and to

convey that Plaintiff approved, condoned, endorsed, sponsored or was otherwise associated

with Defendants by virtue of both using BLOCKCHAIN CAPITAL in similar channels of trade

for similar goods and services as described previously.

       39.     As a result of Defendants’ activities, the public is likely to be confused, misled,

or deceived about the sources of Defendants’ services, and Plaintiff is now and will continue to

suffer irreparable injury to its goodwill and reputation, for which it has no adequate remedy at

law.

       40.     Upon information and belief, as a direct and proximate result of Defendants’

actions, Plaintiff will need to conduct a corrective advertising campaign to alleviate existing,

ongoing and future confusion in the marketplace, in an amount to be determined.




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                                               COUNT III


         41.     Plaintiff repeats and re-alleges the allegations contained in the prior paragraphs

 1-29 of this Complaint and incorporates them herein by reference.

       42.     This claim is against Defendants for common law trademark infringement.

       43.     In addition to the Federal Registration owned by Plaintiff, as set forth above,

Plaintiff’s BLOCKCHAIN CAPITAL® mark enjoys common law rights in Florida and

throughout the United States. These rights are senior and superior to any rights which Defendants

may claim.

       44.     Defendants’ use of BLOCKCHAIN CAPITAL is intentionally designed to mimic

Plaintiff’s BLOCKCHAIN CAPITAL® mark so as to cause confusion regarding the source of

Defendants’ services in that purchasers thereof will be likely to associate or have associated such

use and services with or as approved by Plaintiff, all to the detriment of Plaintiff.

       45.     Defendants’ infringement will continue unless enjoined by the Court.

       46.     Upon information and belief, as a direct and proximate result of Defendants’

actions in misappropriating Plaintiff’s trademark rights, Plaintiff will need to conduct a corrective

advertising campaign to alleviate existing, ongoing and future confusion in the marketplace, in an

amount to be determined.

                                               COUNT IV


         47.     Plaintiff repeats and re-alleges the allegations contained in the prior paragraphs

 1-29 of this Complaint and incorporates them herein by reference.

       48.     This is a cause of action for Unfair Competition.




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        49.        Defendants’ acts complained herein amount to a bad faith misappropriation of the

labor, skill, expenditures and proprietary property of Plaintiff.

        50.        Defendants are doing business under BLOCKCHAIN CAPITAL without right to

do so and in violation of Plaintiff’s rights.

        51.        At all times relevant to the Complaint, Defendants’ conduct was intentional and

purposely directed at Plaintiff and Defendants were intentionally palming off themselves as

affiliated with Plaintiff by virtue of Defendants’ use of Plaintiff’s mark.

        52.        Such conduct was done in bad faith and amounts to unfair actions by Defendants.


                                           Request for Relief

        WHEREFORE, Plaintiff prays for judgment as follows:


        A.         An order directing the Florida Secretary of State to dissolve BLOCKCHAIN

CAPITAL MANAGEMENT LLC or remove BLOCKCHAIN CAPITAL from the name of said

company.

        B.         An order immediately and permanently enjoining Defendants, their officers,

members, agents, servants, employees, attorneys, and all persons in active concert or participating

with any of them, from:

              i.          advertising, marketing, promoting, selling or otherwise offering for sale any

                          good or service under a name that is confusingly similar to Plaintiff’s

                          BLOCKCHAIN CAPITAL mark, any derivation or colorable imitation

                          thereof, or any mark confusingly similar thereto or using BLOCKCHAIN

                          CAPITAL in media outlets or using BLOCKCHAIN CAPITAL as, or




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                 within, a name of a company including termination of use of “Blockchain

                 Capital Management LLC”;

          ii.    making or employing any other commercial use of Plaintiff’s

                 BLOCKCHAIN CAPITAL mark, any derivation or colorable imitation

                 thereof, or any mark confusingly similar thereto including, but not limited

                 to, use in or registration of domains using BLOCKCHAIN CAPITAL or

                 any derivation or colorable imitation thereof;

         iii.    using any other false designation of origin or false description or

                 representation or any other thing calculated or likely to cause confusion or

                 mistake in the mind of the trade or public or to deceive the trade or public

                 into believing that Defendants’ services or activities are in any way

                 sponsored, licensed or authorized by, or affiliated or connected with,

                 Plaintiff;

         iv.     using BLOCKCHAIN CAPITAL as a keyword, metatag or hashtag or in

                 any of its websites and/or domains;

          v.     doing any other acts or things calculated or likely to cause confusion or

                 mistake in the mind of the public or to lead marketers, advertisers,

                 purchasers or consumers or investors into the belief that the products or

                 services promoted, offered, or sponsored by Defendants come from

                 Plaintiff, or are somehow licensed, sponsored, endorsed, or authorized by,

                 or otherwise affiliated or connected with Plaintiff;

         vi.     otherwise competing unfairly with Plaintiff in any manner; and




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            vii.          assisting, aiding, or abetting any other person or business entity in engaging

                          in or performing any of the activities referred to in the above subparagraphs,

                          or effecting any assignments or transfers, forming new entities or

                          associations, or utilizing any other device for the purpose of circumventing

                          or otherwise avoiding the prohibitions set forth in the previous sub

                          paragraphs;

       C.          That a judgment be entered that Defendants have infringed Plaintiff’s mark in

violation of 15 U.S.C. § 1114 and have damaged Plaintiff’s goodwill.

       D.          That a judgment be entered that Defendants have unfairly competed with Plaintiff

by the acts complained of herein in violation of 15 U.S.C. § 1125(a).

       E.          That a judgment be entered that the acts of Defendants constitute unfair

competition and trademark infringement in violation of the common law of Florida.

       F.          That Defendants be ordered to account and pay to Plaintiff all profits derived as a

result of the activities complained of herein.

       G.          That Defendants be ordered to transfer all domains containing “Blockchain

Capital” or the equivalent or confusingly similar domain to Plaintiffs, including, without

limitation, blockchain-capital.co.uk.

       H.          That Defendants be ordered to pay Plaintiff’s reasonable attorneys’ fees and costs.

       I.          That Defendants be ordered to pay actual, exemplary and compensatory damages.

       J.          Disgorgement of profits, including investments or commitments Defendants have

obtained in connection with any use of “Blockchain Capital”.

       K.          Such further relief as determined to be just and proper.




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                                    Demand For a Jury Trial

      In accordance with Federal Rules of Civil Procedure 38, Plaintiff hereby respectfully

demands a trial by jury of all issues and claims so triable.




Dated: September 2, 2020                       Respectfully submitted,


                                             /s/Krishna Kalidindi/
                                             Krishna Kalidindi (FL BAR # 82686)
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